978 F.2d 1254
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stewart Lee BRASWELL, Plaintiff-Appellant,v.Carol GOODMAN;  Marion Correctional Treatment Center,Defendants-Appellees.
    No. 92-6936.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  October 10, 1992Decided:  November 10, 1992
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Cynthia D. Kinser, Magistrate Judge.  (CA-92-310-R)
      Stewart Lee Braswell, Appellant Pro Se.
      Karen Lynn Lebo, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellees.
      W.D.Va.
      Affirmed.
      Before PHILLIPS and NIEMEYER, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Stewart Lee Braswell appeals the magistrate judge's order dismissing this action filed under 42 U.S.C. § 1983 (1988).  Acting pursuant to 42 U.S.C. § 1997e (1988), the magistrate judge ordered Plaintiff to exhaust administrative remedies and to advise the court within one hundred days of the result of the administrative proceedings.  It warned Plaintiff that failure to advise the court regarding exhaustion would result in dismissal of the action.  Plaintiff failed to comply with this order, and the magistrate judge dismissed the case without prejudice upon expiration of the allowed period.
    
    
      2
      The magistrate judge could properly require exhaustion of administrative remedies under 42 U.S.C. § 1997e.  Its dismissal of the action, without prejudice, when Plaintiff failed to comply with its order was not an abuse of discretion.  We therefore affirm the judgment below.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    